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                                 U NITED STATES D ISTRICT COU RT
                                 SOUTHERN D ISTRICT OF FLO RIDA

                               CASE NO.: 17-CV-20573-K1NG/TORltES

   ENRIQUE ARRIETA SOLANA
                  Plaintiff,

   VS.


   ALL AM ERICAN W A STE & RECYCLIN G ,LLC
   AND ALEXAN DER M ON TEA GUD O

                  D efendant.


          O RDER APPRO VIN G STIPULATION FO R SETTLEM EN T AG R EEM ENT

          THIS CA USE having com e before the Courtupon N otice ofStipulation ofSettlcment

   betwecn the parties,itis:
          O RD ERED AN D AD JUD GED thatthe Stipulation betw een the parties isapproved by

   thisCourt,andthatthiscasestandsdismissedwiththeCourtreseningjurisdictiontoenforcethe
   parties'agreem entand to reopen thism atterupon the filing ofAffidavitofNon-com pliance by

   Plaintiffin the eventDefendantsviolate thc term softhe Stipulation.

          D ON E AND ORDERED in Cham bersin M iam i-Dade County,Florida this            day of

   January,2018.


                                                       onorable Jam esLawrence K ing
                                                     U nited StatesD istrictCourtJud


   Notice has been electronically m ailed to:
   CounselofRecordbpCM/ECF
